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 1   Cheryl A. Williams (Cal. Bar No. 193532)
     Kevin M. Cochrane (Cal. Bar No. 255266)
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 5

 6   Attorneys for Plaintiff
     WILLIAMS & COCHRANE, LLP
 7

 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     WILLIAMS & COCHRANE, LLP;                  Case No.: 17-CV-01436 GPC DEB
11
                        vs.                     WILLIAMS & COCHRANE’S
12                                              SEPARATE STATEMENT OF
                                                UNDISPUTED MATERIAL
13   ROBERT ROSETTE; ROSETTE &                  FACTS IN SUPPORT OF
     ASSOCIATES, PC; ROSETTE, LLP;              MOTIONS FOR SUMMARY
14                                              JUDGMENT UNDER FEDERAL
     RICHARD ARMSTRONG;                         RULE OF CIVIL PROCEDURE 56
15   QUECHAN TRIBE OF THE FORT                  AGAINST QUECHAN TRIBE OF
16   YUMA INDIAN RESERVATION, a                 FORT YUMA INDIAN
     federally-recognized Indian tribe; and     RESERVATION ON FOURTH
17                                              AMENDED COMPLAINT AND
     DOES 1 TO 100.                             ANSWER TO FOURTH
18                                              AMENDED COMPLAINT AND
                                                COUNTERCLAIMS, AND
19                                              MOTION FOR SUMMARY
                                                JUDGMENT UNDER FEDERAL
20                                              RULE OF CIVIL PROCEDURE 56
                                                AGAINST ROSETTE
21                                              DEFENDANTS ON THIRD
                                                CLAIM FOR RELIEF IN
22                                              FOURTH AMENDED
                                                COMPLAINT
23
                                                Date:      December 4, 2020
24                                              Time:      1:30 p.m.
                                                Dept:      2D
25                                              Judge:     The Honorable Gonzalo P.
                                                           Curiel
26

27

28
                                            Case No.: 17-CV-01436 GPC DEB
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 1         In accordance with the Motion for Summary Judgment section of this Court’s Civil
 2   Pretrial & Trial Procedures, Williams & Cochrane, LLP hereby submits its separate state-
 3   ment setting forth all material facts that the moving party contends are undisputed.
 4        CLAIMED UNDISPUTED MATERIAL FACT                                    EVIDENCE
 5   1. The Indian law field, particularly in California, is a niche   Dkt. No. 285, p. 2
 6   market in which a limited number of law firms participate.
 7   2. Rosette, LLP is a national law firm that represents Indian     Declaration of Cheryl A.
 8   tribes, including in gaming compact negotiations under the        Williams (“Williams
 9   Indian Gaming Regulatory Act (“IGRA”), 25 U.S.C. § 2701           Decl.”), Ex. 9 at P0071-
10   et seq., and complex litigation related thereto.                  0072
11   3. Williams & Cochrane, LLP is a boutique law firm that           Williams Decl., Ex. 9 at
12   represents Indian tribes, including in gaming compact             P0071-0072
13   negotiations under IGRA and complex litigation related
14   thereto.
15   4. Rosette, LLP and Williams & Cochrane, LLP are direct           Williams Decl., Ex. 9 at
16   competitors.                                                      P0071-0072
17   5. The head partner of Rosette, LLP – Robert A. Rosette –         Williams Decl., Ex. 53 at
18   does not perform actual litigation work, but rather “ha[s]        P1233-1234
19   employees that work for [him] that conduct research, draft,
20   make court appearances, and so on and so forth.”
21   6. Robert A. Rosette hired the two partners of Williams &         Dkt. No. 233, ¶ 120
22   Cochrane, LLP – Cheryl A. Williams and Kevin M.
23   Cochrane – as litigation associates at his firm Rosette &
24   Associates, P.C. (which later reorganized into Rosette, LLP)
25   on or about February 2009.
26   7. On September 4, 2009, Rosette & Associates, P.C. filed a       Pauma v. California, No.
27   complaint on behalf of the Pauma Band of Mission Indians          09-01955, Dkt. No. 1
28
                                     1        Case No.: 17-CV-01436 GPC DEB
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 1
     (“Pauma” or “Tribe”) against the State of California           (S.D. Cal. Sept. 4, 2009);
 2
     (“State”) in the United States District Court for the Southern Dkt. No. 233, ¶ 1 (also
 3
     District of California to rescind an amended compact           applies to facts numbered
 4
     between the tribe and the State.                               8-24, infra)
 5
     8. The attorney who signed and submitted the complaint on      Pauma v. California, No.
 6
     behalf of Pauma was Cheryl A. Williams.                        09-01955, Dkt. No. 1
 7
                                                                    (S.D. Cal. Sept. 4, 2009)
 8
     9. On March 29, 2010, Rosette & Associates, P.C. filed a       Pauma v. California, No.
 9
     motion for preliminary injunction (amended) requesting the     09-01955, Dkt. No. 34
10
     district court to “prevent the State from enforcing the        (S.D. Cal. Mar. 29, 2010)
11
     payment provisions of the [amended compact]” until the
12
     legal issues in the case were resolved.
13
     10. The attorney who signed and submitted the motion for       Pauma v. California, No.
14
     preliminary injunction on behalf of Pauma was Cheryl A.        09-01955, Dkt. No. 34
15
     Williams.                                                      (S.D. Cal. Mar. 29, 2010)
16
     11. The district court held a hearing on Pauma’s motion for    Pauma v. California, No.
17
     preliminary injunction on April 5, 2010.                       09-01955, Dkt. Nos. 42 &
18
                                                                    56 (S.D. Cal. April 6,
19
                                                                    2010 & May 13, 2010)
20
     12. The attorneys appearing at the hearing on behalf of        Williams Decl., Ex. 53 at
21
     Pauma were Cheryl A. Williams and Kevin M. Cochrane.           P1234; Pauma v.
22
                                                                    California, No. 09-01955,
23
                                                                    Dkt. No. 42 (S.D. Cal.
24
                                                                    April 6, 2010)
25
     13. On April 12, 2010, the district court issued an order      Pauma v. California, No.
26
     granting Pauma’s motion for preliminary injunction,            09-01955, Dkt. No. 44
27
     explaining therein that it was requiring Pauma to “pay only    (S.D. Cal. April 12, 2010)
28
                                      2        Case No.: 17-CV-01436 GPC DEB
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 1
     those payments required under the terms of the original
 2
     compact between the parties prior to the execution of the
 3
     [amended compact].”
 4
     14. On or about May 15, 2010, both Cheryl A. Williams and Dkt. No. 233, ¶ 122;
 5
     Kevin M. Cochrane departed Rosette & Associates, P.C. and Pauma v. California, No.
 6
     the Pauma case remained with Rosette & Associates, P.C.             10-55713, Dkt. No. 10
 7
                                                                         (9th Cir. 2010)
 8
     15. After the State appealed the injunction order, Rosette &        Pauma v. California, No.
 9
     Associates, P.C. filed a brief – its first since the departure of   10-55713, Dkt. No. 14
10
     Cheryl A. Williams and Kevin M. Cochrane – with the                 (9th Cir. 2010)
11
     United States Court of Appeals for the Ninth Circuit
12
     opposing the State’s motion to stay the preliminary
13
     injunction pending appeal on June 11, 2010.
14
     16. The Ninth Circuit granted the State’s motion for a stay.        Pauma v. California, No.
15
                                                                         10-55713, Dkt. No. 39
16
                                                                         (9th Cir. 2010)
17
     17. The General Council of Pauma voted to terminate                 Williams Decl., Ex. 9 at
18
     Rosette & Associates, P.C. on June 13, 2010 (just two days          P0168; Pauma v.
19
     after the filing of the opposition brief), and the firm was         California, No. 10-55713,
20
     replaced as counsel of record in the case by Williams &             Dkt. No. 17 (9th Cir.
21
     Cochrane, LLP on or about June 15, 2010.                            2010)
22
     18. On August 17, 2010, Williams & Cochrane filed an                Pauma v. California, No.
23
     emergency motion on behalf of Pauma with the Ninth                  10-55713, Dkt. No. 51
24
     Circuit, requesting that the Court either reconsider its order      (9th Cir. 2010)
25
     granting the stay of the preliminary injunction or clarify the
26
     meaning of the order and enjoin the State from acting
27
     outside the scope of it for the pendency of the appeal.
28
                                    3        Case No.: 17-CV-01436 GPC DEB
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 1
     19. On August 23, 2010, the Ninth Circuit issued an order       Pauma v. California, No.
 2
     granting Pauma’s emergency motion in full and thereby           10-55713, Dkt. No. 55
 3
     retroactively denying the State’s original motion to stay the   (9th Cir. 2010)
 4
     preliminary injunction pending appeal.
 5
     20. On November 30, 2010, the Ninth Circuit issued a            Pauma v. California, No.
 6
     dispositive order for the appeal in which it kept the           10-55713, Dkt. No. 64
 7
     preliminary injunction in effect pending any further            (9th Cir. 2010)
 8
     consideration by the district court.
 9
     21. Following remand, Williams & Cochrane filed an              Pauma v. California, No.
10
     amended complaint on behalf of Pauma on September 9,            09-01955, Dkt. No. 130
11
     2011 that included a new tenth claim for relief based upon      (S.D. Cal. Sept. 9, 2011)
12
     misrepresentation under the Restatement and other general
13
     principles of federal contract law.
14
     22. On March 18, 2013, the district court granted summary       Pauma v. California, No.
15
     judgment in favor of Pauma based on the misrepresentation       09-01955, Dkt. No. 227
16
     claim in the amended complaint and – in that and                (S.D. Cal. Mar. 18, 2013)
17
     subsequent orders – awarded the Tribe rescission of the
18
     amended compact and repayment of approximately $36.3
19
     million in heightened revenue sharing fees.
20
     23. The Ninth Circuit affirmed the judgment of the district     Pauma v. California, 813
21
     court on October 26, 2015.                                      F.3d 1155 (9th Cir. 2015)
22
     24. The judgment ultimately took effect on June 28, 2016        Pauma v. California, No.
23
     with the issuance of the formal mandate after the Supreme       09-01955, Dkt. No. 316
24
     Court of the United States denied the parties’ cross-petitions (S.D. Cal. June 29, 2016)
25
     for writs of certiorari.
26
     25. On September 9, 2016, Governor Edmund G. Brown, Jr. Dkt. No. 220, ¶ 44;
27
     signed and thereby approved Senate Bill 1187 in order to        California Legislative
28
                                     4        Case No.: 17-CV-01436 GPC DEB
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 1
     appropriate “[t]he sum of… $36,320,286.61… to pay the           Information, SB-1187
 2
     judgment and any applicable interest in Pauma Band of           Claims against the state:
 3
     Luiseno Mission Indians of the Pauma & Yuima                    appropriation, available
 4
     Reservation v. State of California, et al. (United States       at http://leginfo.legisla
 5
     District Court for the Southern District, Case No.              ture.ca.gov (use Quick
 6
     09CV1955).”                                                     Bill Search function)
 7
     26. Robert A. Rosette testified during a deposition on          Williams Decl., Ex. 53 at
 8
     October 26, 2010 that he did not know the status of the         P1233
 9
     Pauma case as of that date – approximately three months
10
     after his termination and two-and-a-half years before the
11
     district court would enter judgment in the Tribe’s favor.
12
     27. Nevertheless, from at least May 31, 2017 through July 1, Williams Decl., Ex. 9 at
13
     2017, Robert A. Rosette advertised on his Rosette, LLP          P0167
14
     website that “Mr. Rosette also successfully litigated a case
15
     saving the Pauma Band of Luiseno Mission Indians over
16
     $100 Million in Compact payments alleged owed to the
17
     State of California against then Governor Schwarzenegger.”
18
     28. Moreover, an “Executive Assistant at Rosette, LLP”          Williams Decl., Ex. 14,
19
     named Christian Cienfuegos who is responsible for               ¶¶ 4, 6-7
20
     “manag[ing] the creation and distribution of the firm’s
21
     marketing materials” filed a declaration earlier in this case
22
     on April 6, 2018 in which she explained “Rosette, LLP often
23
     commissions the printing and distribution of marketing
24
     brochures,” and attached as Exhibit 1 one such “marketing
25
     brochure maintained in the ordinary course of business at
26
     Rosette, LLP” that was “scanned and added to Rosette
27
     LLP’s shared drive on May 9, 2011.”
28
                                    5        Case No.: 17-CV-01436 GPC DEB
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 1
     29. That marketing brochure attached to the foregoing            Williams Decl., Ex. 14 at
 2
     Cienfuegos declaration contains a profile for Robert A.          P0231
 3
     Rosette that states “Mr. Rosette also successfully litigated a
 4
     case saving the Pauma Band of Luiseno Mission Indians
 5
     over $100 Million in Compact payments allegedly owed to
 6
     the State of California against then-Governor
 7
     Schwarzenegger.”
 8
     30. More than a year after his termination from the Pauma        Williams Decl., Ex. 54
 9
     suit, on June 26 and 27, 2011, Robert A. Rosette and his
10
     firm instigated a series of e-mail communications with the
11
     State’s then compact negotiator in an attempt to settle the
12
     litigation without Williams & Cochrane’s knowledge, even
13
     though he admittedly did not represent the Tribe.
14
     31. These e-mail communications only came to light after         Pauma v. California, No.
15
     the Deputy Attorney General assigned to represent the State      09-01955, Dkt. No. 118-2
16
     in the Pauma suit became concerned about the ethicality of       (S.D. Cal. Aug. 15, 2011)
17
     the situations and contacted Cheryl A. Williams.
18
     32. Williams & Cochrane had to move for and – on May 23, Pauma v. California, No.
19
     2012 – obtain a protective order that controlled settlement      09-01955, Dkt. No. 183
20
     discussions in the matter.                                       (S.D. Cal. May 23, 2012)
21
     33. On May 31, 2015, Robert A. Rosette e-mailed various          Williams Decl., Ex. 55
22
     individuals affiliated with the Pauma tribe that had fired him
23
     years earlier to inform them “[i]t appears that the Tribe’s
24
     litigation attorneys [i.e., Williams & Cochrane] have
25
     renewed their effort to seek a protective order through the
26
     Court,” and requested “letters clearing my good name.”
27
     34. On May 31, 2015, Williams & Cochrane was, in fact,           Pauma v. California,
28
                                    6        Case No.: 17-CV-01436 GPC DEB
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 1
     not seeking another protective order, as the district court     Nos. 14-56104 & 14-
 2
     case was over by that point in time and the attorneys were      56105 (9th Cir. filed July
 3
     preparing for the Ninth Circuit hearing on July 10, 2015.       9, 2014)
 4
     35. During the second half of August 2016 and the first part    Williams Decl., Ex. 16;
 5
     of September 2016, multiple newspapers in California –          Dkt. No. 220, ¶ 48
 6
     including the San Diego Union-Tribune and Sacramento
 7
     Bee – reported on Governor Brown signing Senate Bill 1187
 8
     that would pay Pauma its $36.3 million judgment.
 9
     36. On August 24, 2016, the Chief Executive Officer of the      Williams Decl., Ex. 16
10
     Quechan Tribe of the Fort Yuma Indian Reservation’s
11
     California gaming facility Charles Montague sent an e-mail
12
     to tribal President Michael Jackson in which he linked to the
13
     Sacramento Bee article on the Pauma case and suggested
14
     “the tribe should pursue a new compact that could lead to a
15
     material change in transfers to the tribe.”
16
     37. Quechan was once a signatory to the initial form gaming Williams Decl., Ex. 19
17
     compact in the State of California (“1999 Compact”), and,
18
     since it did not engage in class III gaming before the
19
     execution of this agreement, it only had to pay revenue
20
     sharing into the Revenue Sharing Trust Fund on a schedule
21
     that required annual per-machine fees of $0 on machines 0-
22
     700 and $900 on machines 701-1100.
23
     38. On June 28, 2006, Quechan executed an amended               Williams Decl., Ex. 20 at
24
     gaming compact with the State of California (“2006              P0273
25
     Amendment”) that replaced the foregoing revenue sharing
26
     structure with one that required, inter alia, a base payment
27
     of 10% of the first $50 million in annual net win.
28
                                    7        Case No.: 17-CV-01436 GPC DEB
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 1
     39. The 2006 Amendment took effect on January 17, 2007,       72 Fed. Reg. 2007 (Jan.
 2
     the date of publication in the Federal Register.              17, 2007)
 3
     40. By replacing the financial terms of the 1999 Compact      Williams Decl., Ex. 26;
 4
     with those in the 2006 Amendment, Quechan paid an             see also Williams Decl.,
 5
     additional $39,732,774 in revenue sharing between January     Exs. 19-20
 6
     17, 2007 and July 2016.
 7
     41. On or about July 31, 2016, Quechan stopped paying         Williams Decl., Ex. 26;
 8
     revenue sharing altogether under its 2006 Amendment.          Dkt. No. 231, ¶ 53
 9
     42. Section 4.3.3 of the 2006 Amendment explains that the     Williams Decl., Ex. 30 at
10
     “[f]ailure to make timely payments shall be deemed a          P0275-0276
11
     material breach of this Amended Compact,” and requires the
12
     “Tribe [to] cease operating all Gaming Devices until full
13
     payment is made” if a single revenue sharing payment is
14
     overdue for more than 60 days, and to “cease operating all
15
     Gaming Devices for an additional 30 days after full payment
16
     of all outstanding amounts” if two or more revenue sharing
17
     payments are overdue for more than 60 days.
18
     43. In September 2016, President Jackson spoke with the       Williams Decl., Exs. 16-
19
     attorneys of Williams & Cochrane about representing his       18; Dkt. No. 231, ¶¶ 49,
20
     tribe in connection this perceived dispute over the 2006      55
21
     Amendment that had required his tribe to pay the State
22
     $39,732,744 in excess revenue sharing fees vis-à-vis its
23
     1999 Compact.
24
     44. Williams & Cochrane and Quechan executed an               Williams Decl., Exs. 17-
25
     Attorney-Client Fee Agreement on September 29, 2016 to        18, 69
26
     address the dispute over the 2006 Amendment – one that
27
     contains a hybrid fee structure that was negotiated and
28
                                    8        Case No.: 17-CV-01436 GPC DEB
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                                       17


 1
     specifically requested by the Tribe.
 2
     45. Section 4 of the Attorney-Client Fee Agreement details        Williams Decl., Ex. 17, §
 3
     the monthly flat fee and explains in pertinent part that          4
 4
     “[c]lient agrees to pay a flat fee of $50,000 per month for
 5
     Firm’s services under this Agreement” and “[t]his fee is
 6
     fixed and does not depend on the amount of work performed
 7
     or the results obtained.”
 8
     46. Section 5 of the Attorney-Client Fee Agreement details        Williams Decl., Ex. 17, §
 9
     the contingency fee and explains in pertinent part that the       5
10
     “[f]irm’s contingency fee will be fifteen percent (15%) of
11
     the net recovery” – a term that “include[s] any credit, offset,
12
     or other reduction in future compact payments to the State in
13
     a successor compact (whether new or amended) as a result
14
     of excess payments made under Client’s tribal/State
15
     compact amended in 2006 in lieu of or in addition to a
16
     monetary ‘net recovery’” – “if the representation matter is
17
     resolved through settlement or negotiations… before the
18
     filing of a lawsuit or within 12 months thereof.”
19
     47. Section 11 then details what happens if Williams &            Williams Decl., Ex. 17, §
20
     Cochrane is discharged in good faith before the contingency       11
21
     fee definitively attaches, which is that the “Firm will be
22
     entitled to be paid by Client a reasonable free for the legal
23
     services provided in lieu of the contingency fee set forth in
24
     paragraph 5 of this Agreement,” and “[s]uch fee will be
25
     determined by considering the following factors,” the first of
26
     which is “[t]he amount of the fee in proportion to the value
27
     of the services performed.”
28
                                    9        Case No.: 17-CV-01436 GPC DEB
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 1
     48. On October 12, 2016, Williams & Cochrane sent the            Williams Decl., Ex. 21
 2
     California Office of the Governor a request to renegotiate
 3
     the 2006 Amendment and thereby obtain a compact that
 4
     “provides the Tribe with full value for all of the excess
 5
     illegal payments it has made under the 2006 Amendment.”
 6
     49. Just five days later, on October 17, 2016, the State’s       Williams Decl., Ex. 22
 7
     Senior Advisor for Tribal Negotiations Joginder Dhillon
 8
     responded, indicating that “[t]he State agrees to enter into
 9
     negotiations for a new tribal state gaming compact[.]”
10
     50. On October 25, 2016, President Jackson, on his own           Williams Decl., Ex. 23
11
     volition, sent a letter to Mr. Dillon to explain the 2006
12
     Amendment “caused a terrible financial burden on our
13
     Tribe” and that “we look forward to settling the differences”
14
     through renegotiations.
15
     51. On December 6, 2016, the Office of the Governor sent a Williams Decl., Exs. 24-
16
     draft compact to Quechan care of Williams & Cochrane             25
17
     that, according to the cover letter from Mr. Dhillon, “would
18
     reduce the Quechan Tribe’s existing payment obligations by
19
     approximately $4 million annually” for the duration of the
20
     twenty-five- plus-year agreement.
21
     52. Late in the winter of 2016, Quechan had an election for      Williams Decl., Exs. 12-
22
     all five of the biannual Councilmember seats on the seven-       13, ¶ 2; Dkt. No. 220, ¶
23
     person Tribal Council.                                           75
24
     53. The initial vote tally indicated that challengers won four   Williams Decl., Exs. 12-
25
     of the five Councilmember seats, and the Tribe spent the         13, ¶ 2; Dkt. No. 220, ¶
26
     ensuing months mired in infighting over the election results. 75
27
     54. The Tribal Council – including the four challengers for      Williams Decl., Exs. 12-
28
                                   10        Case No.: 17-CV-01436 GPC DEB
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                                       17


 1
     the Tribal Councilmember seats – was sworn into office on        13, ¶ 2; Dkt. No. 220, ¶
 2
     or about March 3, 2017, after which President Jackson and        76
 3
     the tribal Vice President stepped down in short order.
 4
     55. On April 27, 2027, one of the Councilmembers who had         Williams Decl., Ex. 49 at
 5
     assumed office on March 3, 2017 named Mark William               P1219
 6
     (“Willie”) White II e-mailed an attorney named Wilson
 7
     Pipestem to see if there was a way out of the Attorney-
 8
     Client Fee Agreement, possibly by claiming “the Tribe…
 9
     was under duress at the time of signing this agreement.”
10
     56. Out of this e-mail, on May 5, 2017, Mr. Pipestem sent        Williams Decl., Ex. 49 at
11
     the new tribal President Keeny Escalanti a legal proposal to     P1221
12
     review “whether the law and facts present opportunities for
13
     negotiation of fees paid to [Williams & Cochrane].”
14
     57. Both President Escalanti and Councilmember White             Williams Decl., Exs. 12-
15
     filed declarations earlier in this case testifying they “decided 13, ¶ 7
16
     not to pursue a relationship with [Wilson Pipestem].”
17
     58. Shortly after May 19, 2017, the CEO of Quechan’s             Williams Decl., Ex. 67;
18
     gaming facility Charles Montague called Cheryl A.                Dkt. No. 220, ¶ 81
19
     Williams to inform her that the Tribal Council had re-voted
20
     on how to handle the compact dispute and had once again
21
     decided to resolve it through negotiations using her firm
22
     59. Williams & Cochrane had a final compact negotiation          Williams Decl., Exs. 37-
23
     session with the State of California on June 14, 2016.           40
24
     60. Later that afternoon, Cheryl A. Williams called the CEO Williams Decl., Exs. 37,
25
     of Quechan’s gaming facility Charles Montague to relay the       67
26
     outcome of the meeting and the process for winding up the
27
     negotiations over the final sixteen days in June 2016.
28
                                   11        Case No.: 17-CV-01436 GPC DEB
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                                       17


 1
     61. Shortly after 1:38 p.m. the following day (i.e., June 15,    Williams Decl., Exs. 37-
 2
     2016), Ms. Williams had a similar phone call with the tribal     39, 67
 3
     Vice President Virgil Smith, who reaffirmed the Tribe’s
 4
     desire to conclude the compact with Williams & Cochrane.
 5
     62. At 3:28 p.m. of the same afternoon, Vice President           Williams Decl., Ex. 39
 6
     Smith sent an email to the rest of the Tribal Council to
 7
     explain he just “received a call from Cheryl A. Williams”
 8
     that detailed the agreement in principle reached between the
 9
     parties at the negotiation session the prior day, and how the
10
     compact would be in place by “the end of June or possibly
11
     the first week of July.”
12
     63. The very next morning, June 16, 2017, President              Williams Decl., Exs. 12-
13
     Escalanti and Councilmember White met Robert A. Rosette          13, ¶¶ 9-10
14
     for breakfast to discuss his “experience with compact
15
     negotiations in California” and “whether [he] may be
16
     interested in assisting in Quechan’s California negotiations.”
17
     64. The only California compact experience detailed on the       Williams Decl., Exs. 14-
18
     Rosette, LLP website or within its marketing brochures at        15
19
     the time was the Pauma case.
20
     65. No one affiliated with Quechan informed Williams &           Williams Decl., Exs. 37-
21
     Cochrane about this meeting.                                     38
22
     66. Williams & Cochrane, LLP transmitted a final draft           Williams Decl., Exs. 40,
23
     compact to the State of California via e-mail on June 21,        67; Dkt. No. 220, ¶¶ 85-
24
     2017 that “include[d] those changes we discussed at our          88.
25
     meeting last week” – like those related to the maximum slot
26
     machine count and number of authorized gaming facilities –
27
     and “boilerplate language from other recent compacts,”
28
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 1
     which the attorneys for the parties planned on discussing on
 2
     or about the “next Monday” June 26, 2017 in order to wind
 3
     up the negotiations by the end of the month.
 4
     67. On June 27, 2017, and after contacting the State of              Williams Decl., Ex. 41;
 5
     California, Quechan transmitted a “Termination of                    Dkt. No. 220, ¶ 91
 6
     Attorney-Client Relationship” letter to Cheryl A. Williams
 7
     and Kevin M. Cochrane signed by putative President Keeny
 8
     Escalanti – one that explained Quechan wanted the compact
 9
     materials, was “terminating the services of Williams &
10
     Cochrane, LLP, effective immediately upon your receipt of
11
     this letter,” that the tribe “will consider all its obligations to
12
     the Firm satisfied upon payment of a pro-rated [monthly
13
     flat] fee for your services as of the date of this letter,” and
14
     that it “will not pay any contingency fee or ‘reasonable fee
15
     for the legal services provided in lieu’ thereof.”
16
     68. The June 27th letter then explained that “we consider            Williams Decl., Ex. 41
17
     payment of your accrued fees for June 2017 as more than
18
     fair” and “[w]e strongly advise you against pressing your
19
     luck further out of concern for the reputation of your firm in
20
     Indian Country and in the State of California.”
21
     69. To date, Quechan has never paid Williams & Cochrane              Williams Decl., Ex. 56 at
22
     any portion of the monthly flat fee for June 2017, let alone         P1245; Dkt. No. 231, ¶
23
     for the 27 of 30 days which its attorneys worked.                    93
24
     70. The June 27th letter ended by instructing Williams &             Williams Decl. Ex. 41
25
     Cochrane to “[p]lease direct all communications regarding
26
     this matter to Robert A. Rosette.”
27
     71. The day after the transmission of the June 27th letter, an       Williams Decl., Ex. 44
28
                                    13        Case No.: 17-CV-01436 GPC DEB
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                                       17


 1
     associate attorney for Rosette, LLP by the name of Cecilia
 2
     Guevara-Zamora both called and e-mailed the office of
 3
     California State Senator Ben Hueso “to set a brief meeting
 4
     with Senator Hueso to discuss the legislative process for
 5
     getting the compact ratified,” which she hoped could take
 6
     place the following day.
 7
     72. On July 3, 2017, Cheryl A. Williams e-mailed a copy of      Williams Decl., Ex. 68;
 8
     the June 21, 2017 final draft compact to representatives for    Dkt. No. 220, ¶ 105
 9
     Rosette, LLP and Quechan.
10
     73. Quechan executed its compact on August 28, 2017, after Williams Decl., Ex. 45;
11
     the State of California raised the tribe’s “outstanding         see also Williams Decl,
12
     payment obligations to the State under the 2006                 Exs. 22, 24-26, 34-36, 40
13
     Amendment” after the firm switch and Quechan and the
14
     State settled “by [having the tribe] mak[e] a reduced total
15
     payment of two million dollars ($2,000,000) to the State.”
16
     74. Quechan’s 2017 compact took effect on January 22,           83 Fed. Reg. 3015 (Jan.
17
     2018, the date of publication in the Federal Register.          22, 2018)
18
     75. The compact executed by Quechan on August 28, 2017          Williams Decl., Ex. 40 at
19
     and the June 21, 2017 final draft compact by Williams &         P0912-913, P0912,
20
     Cochrane are one and the same with respect to, inter alia,      P0913-0914, P0917,
21
     the number of casinos, the number of slot machines, the         P1012; Ex. 45 at P1073,
22
     revenue sharing structure on the initial 1,200 machines, and    P1072, P1073-1074,
23
     the term of the agreement.                                      P1076-1077, P1084,
24
                                                                     P1169
25
     76. Shortly after executing the compact, on October 4, 2017, Williams Decl., Ex. 46 at
26
     President Escalanti testified before the United States Senate   P1206
27
     on Indian Affairs and stated in part, “[w]e are pleased with
28
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 1
     the terms of our new compact, as it allows for an expansion
 2
     of gaming devices while offering up more favorable
 3
     revenue-sharing provisions for the Tribe that will allow it to
 4
     improve its financial status and augment services that we
 5
     can provide its membership.”
 6
     77. On April 18, 2020, Councilmember White posted a              Williams Decl., Ex. 47
 7
     message to his Facebook page touting the success of his
 8
     Tribal Council in which he explained it was responsible for
 9
     “negotiating an incredible compact.”
10
     78. President Escalanti and Councilmember White filed            Williams Decl., Exs. 12-
11
     declarations earlier in this case in which they testified in     13, ¶ 20
12
     unison that the Tribal Council was so satisfied with Mr.
13
     Rosette’s work that he became general counsel for the tribe.
14
     79. Williams & Cochrane, LLP was paid neither the                Williams Decl., Exs. 41,
15
     monthly flat fees for June 2017 through January 22, 2018         56
16
     (i.e., the effective date of the compact) nor the 15%
17
     contingency fee for the revenue sharing reduction Quechan
18
     received under the new compact as a result of its excess
19
     payments under the amended compact.
20
     80. In January 2018, or just six months after the repudiation    Williams Decl., Ex. 48
21
     of the Attorney-Client Fee Agreement, Quechan executed a
22
     design agreement for a $5.5 million renovation of the
23
     Paradise Casino, the tribe’s gaming facility on the Arizona
24
     side of the border.
25
     81. Around the same time, Quechan hired WilmerHale, a            Williams Decl., Exs. 62-
26
     firm that helped defend, in a federal action, the Tohono         63; Dkt. Nos. 11-12
27
     O’odham Tribe for in excess of $13.5 million in legal fees.
28
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                                       17


 1       RESPECTFULLY SUBMITTED this 17th day of September, 2020
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 3
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